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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


    IN RE: SOCLEAN, INC., MARKETING,
    SALES PRACTICES AND PRODUCTS
    LIABILITY LITIGATION                             Master Docket Number: 2:22-mc-152

                                                     MDL No. 3021
    This Document Relates to:
    Albright v. SoClean, Inc., 22-cv-280
    Arnouville v. SoClean, Inc., 22-cv-502
    Bailey v. SoClean, Inc., 22-cv-494
    BeDoit v. SoClean, Inc., 22-cv-528
    Blissett v. SoClean, Inc., 22-cv-271
    Borland v. SoClean, Inc., 22-cv-293
    Brackins et al v. SoClean, Inc., 22-cv-225
    Bradley v. SoClean, Inc., 22-cv-439
    Brooks v. SoClean, Inc., 22-cv-228
    Carlile v. SoClean, Inc., 22-cv-279
    Coley v. SoClean, Inc., 22-cv-275
    Cupp et al. v. SoClean, Inc., 22-cv-227
    Hebert v. SoClean, Inc., 22-cv-231
    Hill v. SoClean, Inc., 22-cv-301
    Hixon v. SoClean, Inc., 22-cv-504
    Hunter-Blank v. SoClean, Inc., 22-cv-233
    Ieyoub et. al. v. SoClean, Inc., 22-cv-272
    Jenkins v. SoClean, Inc., 22-cv-241
    Koumantakis v. SoClean, Inc., 22-cv-335
    Landers v. SoClean, Inc., 22-cv-226
    Lange v. SoClean, Inc., 22-cv-274
    Litman v. SoClean, Inc., 22-cv-501
    Morris v. SoClean, Inc., 22-cv-503
    Pomianek v. SoClean, Inc., 22-cv-282
    Sakalorios v. SoClean, Inc., 22-cv-229
    Screen v. SoClean, Inc., 22-cv-273
    Seicol v. SoClean, Inc., 22-cv-291
    Stahl v. SoClean, Inc., 22-cv-232
    Turner v. SoClean, Inc., 22-cv-243
    Wharton v. SoClean, Inc., 22-cv-505
    Wheeler v. SoClean, Inc., 22-cv-230


                     FED. R. CIV. P. 26(f) REPORT OF THE PARTIES 1

1   For clarity, SoClean is a party to these consolidated putative class actions (the “SoClean
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1.      Identification of counsel and unrepresented parties. Set forth the
        names, addresses, telephone and fax numbers and e-mail addresses
        of each unrepresented party and of each counsel and identify the
        parties whom such counsel represent:

       This is a centralized multi-district litigation brought by consumer plaintiffs. Plaintiffs’

appointed leadership is set forth in Pretrial Orders Nos. 2 and 5.

       Plaintiffs’ appointed leadership is set forth in Pretrial Order # 2.

       SoClean, Inc. is represented by Proskauer Rose LLP and Marks, O’Neill, O’Brien,

Doherty & Kelly, P.C.

2.      Set forth the general nature of the case (patent, civil rights, anti-trust,
        class action, etc.):

Plaintiffs’ Position

       This case is a procedural consolidation of over 30 putative class actions. In their

Consolidated Amended Class Complaint, Plaintiffs intend to seek economic damages

related to allegations that SoClean concealed the presence and risk of ozone exposure

from SoClean devices used to clean CPAP and BiPAP machines and accessories.

Plaintiffs are consumers with SoClean devices which generate ozone (O³) to clean,

sanitize, and disinfect CPAP and BiPAP machines and accessories. In February 2020,

the FDA issued a press release on its Safety Communication from the same day and

stated that ozone gas-based devices “claiming to clean, sanitize or disinfect CPAP

machines and accessories” were being “illegally marketed” because they “have not been



Class Actions”), and also is a party to a business litigation brought by SoClean against
Philips (the “SoClean-Philips Lawsuit”), all of which have been transferred into MDL 3021
for coordinated discovery and pretrial proceedings as appropriate. This Fed. R. Civ. P.
26(f) Report applies only to SoClean as a party in the SoClean Class Actions, and shall
not affect SoClean’s rights and obligations as a party in the SoClean-Philips Lawsuit.
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FDA cleared or approved for marketing in the U.S.” Additionally, the FDA concluded

through testing that “ozone-using disinfection devices generated ambient levels of ozone

above limits considered safe for human exposure.” In these class action, Plaintiffs intend

to bring state common and statutory law causes of action including warranty, fraud,

negligence per se, and consumer protection for economic injury.

      Plaintiffs are not asserting claims against SoClean in this action for degradation of

recalled Philips CPAP and BiPAP machines. An MDL has been created to represent

consumers with recalled Philips machines and this Court has appointed interim leadership

to manage the consolidated cases seeking economic losses, medical monitoring, and

compensation for personal injuries from all parties who may be responsible for that

degradation.

      There are currently no individual personal injury mass action cases in MDL 3021

or in the process of being transferred here. Investigations are on-going about potential

claims for injuries from ozone exposure.

SoClean’s Position

      The SoClean Class Actions are consolidated putative class actions brought by

consumer plaintiffs who purchased SoClean devices. The consumer plaintiffs allege

SoClean devices emit ambient levels of ozone at a level that exceeds the FDA’s limit for

safe human exposure.       The consumer plaintiffs point to the FDA’s 2020 Safety

Communication about ozone cleaners, but ignore that the communication did not mention

SoClean devices, let alone say they are unsafe. The consumer plaintiffs also fail to

mention that, earlier this month, the FDA stated that its 2020 Safety Communication about

ozone cleaners “did not give device users reason to anticipate . . . that the use of ozone



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in ventilated spaces (and utilizing procedures that permitted the circulation of fresh air

through the devices) would necessarily present significant risks.” 2

       In several key respects, the SoClean Class Actions differ from In re: Philips

Recalled CPAP, Bi-Level PAP, and Mechanical Ventilator Products Litigation, MDL No.

3104 (‘MDL 3014”). In 2021, Philips issued an “urgent” medical device recall for certain

CPAP, Bi-Level PAP and mechanical ventilator devices (“Recalled Philips Devices”)

because, according to Philips, the Recalled Philips Devices’ sound abatement foam “may

degrade into particles which may enter the devices’ air pathway and be ingested or

inhaled by the user” and “may off-gas certain chemicals.” 3 According to Philips, “[t]hese

issues can result in serious injury which can be life-threatening, cause permanent

impairment, and/or require medical intervention to preclude permanent impairment.” Id.

The consumer plaintiffs in MDL 3014 seek not only economic damages, but also damages

for personal injury and medical monitoring. See 26(f) Report in MDL 3014, Dkt. 510, at

1-2.

       In contrast, the consumer plaintiffs in the SoClean Class Actions do not allege they

have experienced physical harm and have said they will not be asserting claims for

personal injury or medical monitoring in the SoClean Class Actions. As noted, the

consumer plaintiffs in the SoClean Class Actions merely seek economic damages. And

as the consumer plaintiffs stated above, the SoClean Class Actions are not about foam

degradation or off-gassing, but about whether SoClean devices emit ozone at a level that

exceeds the FDA’s limit for safe human exposure.


2https://www.fda.gov/media/158129/download
3https://www.usa.philips.com/c-dam/b2bhc/master/landing-
pages/src/update/documents/en_US/philips-recall-letter-2021-11-16-a-cpap-a-
ventilator-recall-letter-us-revised.pdf
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      Unlike Philips, SoClean has not recalled any of its devices and has not admitted

that they pose a safety risk to consumers. SoClean stands by its products’ safety.

Indeed, SoClean has submitted a de novo application to the FDA and that application

was accepted for review. It is pending.

      We note these distinctions from MDL 3014 because, as discussed below in Section

5, SoClean intends to move to dismiss the consumer plaintiffs’ forthcoming Consolidated

Amended Complaint (“CAC”), and to move to stay discovery pending the resolution of its

motion to dismiss. SoClean appreciates that the potential for irreparable harm to the

plaintiffs in MDL 3014 may have warranted beginning discovery immediately, particularly

since Philips warned the Recalled Philips Devices pose an urgent danger to users. But

SoClean respectfully submits that there is no such urgency in the SoClean Class Actions

given that (1) the consumer plaintiffs merely seek economic damages, (2) there has been

no product recall, (3) SoClean has not admitted its products are unsafe and in fact denies

such allegations, (4) the FDA is now reviewing SoClean’s de novo application, and (5)

the FDA recently stated that its 2020 Safety Communication did not mean that the use of

ozone in ventilated spaces necessarily presents significant risks.     Further, SoClean

intends to advance in its motion to dismiss multiple independent arguments to dismiss

the entire CAC. If SoClean prevails on any of those arguments, there will be no need for

any discovery in the SoClean Class Actions. Thus, SoClean respectfully requests that

the Court leave in place the existing discovery stay at least until the Court has had the

opportunity to consider SoClean’s motion to stay. 4




4The parties to the SoClean Class Actions have agreed on a briefing schedule for the
motions, as set forth below in Section 5.
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3.      Date Rule 26(f) Conference was held, the identification of those
        participating therein and the identification of any party who may not
        yet have been served or entered an appearance as of the date of said
        Conference:

        The Rule 26(f) conference was held by video-conference on May 5, 11 and 16,

2022.

        In attendance for Plaintiffs: Ruth Anne French-Hodson of Sharp Law, Gary Mason

of Mason LLP, Gretchen Moore of Strassburger McKenna Gutnick & Gefsky, Sarah

Bradshaw of Sharp Law, and Melissa Willett of Mason LLP.

        In attendance for SoClean: Michael Hackett, Jeff Warshafsky and Hena Vora of

Proskauer Rose LLP and Daniel Bentz of Marks, O’Neill, O’Brien, Doherty & Kelly, P.C.

4.      Date of Rule 16 Initial Scheduling Conference as scheduled by the
        Court: (Lead Trial Counsel and unrepresented parties shall attend the
        Rule16 Initial Scheduling Conference with their calendars in hand for
        the purpose of scheduling other pre-trial events and procedures,
        including a Post-Discovery Status Conference; Counsel and
        unrepresented parties shall attend the Rule 16 Initial Scheduling
        Conference prepared to discuss the anticipated number of
        depositions and identities of potential deponents and the anticipated
        dates by which interrogatories, requests for production of documents
        and requests for admissions will be served):

        The parties propose that the Rule 16 Initial Scheduling Conference be held on

August 31, 2022.

5.      Identify any party who has filed or anticipates filing a dispositive
        motion pursuant to Fed. R. Civ. P. 12 and the date(s) by which any
        such anticipated motion may be filed:

        SoClean anticipates filing a Rule 12 motion, and a Rule 26(c) motion to stay

discovery pending the resolution of its motion to dismiss the CAC. The Parties have

agreed that SoClean may file its Rule 12 motion and Rule 26(c) motion on the same date.

The Parties agree on the following briefing schedule for those motions:


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     •   Plaintiffs file the CAC: July 22, 2022

     •   SoClean’s motion to dismiss: September 12, 2022

     •   SoClean’s motion to stay: September 12, 2022

     •   Plaintiffs’ opposition to SoClean’s motion to stay: October 3, 2022

     •   Plaintiffs’ opposition to SoClean’s motion to dismiss: November 1, 2022

     •   SoClean’s reply in further support of its motion to dismiss: November 22,
         2022

         Once Plaintiffs file their CAC, the Parties intend to confer and file a joint motion

seeking expanded page limits for the motion to dismiss briefing.

6.        Designate the specific Alternative Dispute Resolution (ADR) process
          the parties have discussed and selected, if any, and specify the
          anticipated time frame for completion of the ADR process. Set forth
          any other information the parties wish to communicate to the court
          regarding the ADR designation:

         The Parties agree to the appointment of a mediator, and the Parties propose

Retired Judge Diane Welsh as the mediator. The Parties have confirmed that Judge

Welsh is available for ADR mediation on August 8 and 10, September 6-8, 12-14, 16, 19,

21, and agree to confer in good faith regarding a potential date for mediation. The Parties

believe that the process for ADR should be decided jointly with the mediator.

         Plaintiffs have provided SoClean a list of pre-mediation discovery that Plaintiffs

believe would be necessary to have in advance to conduct a meaningful mediation.

7.        Set forth any change that any party proposes to be made in the
          timing, form or requirements of Fed. R. Civ. P. Rule 26(a) disclosures,
          whether such change is opposed by any other party, whether any
          party has filed a motion seeking such change and whether any such
          motion has been ruled on by the Court:

            •   SoClean, Inc.: within 21 days after the filing of the CAC

            •   Class Representative Plaintiffs: within 21 days after the filing of the CAC

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 8.     Subjects on which fact discovery may be needed. (By executing this
        report, no party shall be deemed to (1) have waived the right to
        conduct discovery on subjects not listed herein or (2) be required to
        first seek the permission of the Court to conduct discovery with
        regard to subjects not listed herein):

       Plaintiffs’ Position: Plaintiffs believe fact discovery will be needed in the following

areas as an initial matter:

          •   Documents regarding the FDA testing and Safety Communication in

              February 2020 and any follow-up testing or communications;

          •   Design changes contemplated or made to the SoClean device and the

              reasons for the change;

          •   Commissioned and reviewed studies regarding the safety, risks, and

              necessary precautions for ozone;

          •   Marketing material utilized or contemplated over the last decade;

          •   Authorized third-party retailers;

          •   Warranty registrations and any changes to those registration forms;

          •   U.S. sales figures for the class period including annual reports, income

              statements, and profit & loss reports;

          •   Organization charts;

          •   Insurance policies;

          •   Document retention policies.

       SoClean’s Position: If discovery takes place, SoClean will seek discovery

concerning Plaintiffs’ understanding of and reliance on SoClean’s advertising, Plaintiffs’

alleged purchase and use of SoClean devices, and Plaintiffs’ alleged economic damages.

SoClean will also seek discovery on all factual allegations raised in the CAC, among other


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topics.    At this time, without having seen the CAC, it is premature for SoClean to

determine what other subjects discovery would need to cover.

 9.       Set forth suggested dates for the following (The parties may elect by
          agreement to schedule a Post-Discovery Status Conference, as
          identified in Paragraph 12, below, at the conclusion of Fact-Discovery
          rather than at the conclusion of Expert Discovery. In that event, the
          parties should provide suggested dates only for the events identified
          in sub-paragraphs 9.a through 9.e, below. The parties shall provide
          such information even if dispositive motions pursuant to Fed. R. Civ.
          P. 12 have been or are anticipated to be filed. If there are dates on
          which the parties have been unable to agree, set forth the date each
          party proposes and a brief statement in support of each such party's
          proposed date. Attach to this report form a proposed Court Order
          setting forth all dates agreed to below and leaving a blank for the
          insertion of a date by the Court for any date not agreed to):

The Parties have agreed to conduct full class certification and merits discovery without
phasing. The Parties also generally agree on the overall timing for discovery, but as
noted above, the Parties disagree on when discovery should start. Plaintiffs’ position is
that the “trigger date” for discovery should be the later of when (1) the Court lifts the
temporary stay currently in place, or (2) SoClean files its initial disclosures. SoClean’s
position, as will be set forth in its motion to stay filed contemporaneously with its motion
to dismiss, is that discovery should be stayed until the Court decides SoClean’s motion
to dismiss. Certain dates below are keyed to the Parties’ respective “trigger dates” for
the start of discovery.


                                Consumer Plaintiffs’           SoClean’s Proposal
                                Proposal
 SoClean Initial                21 days after filing of the Consolidated Amended
 Disclosures                    Complaint
 Plaintiffs Initial
 Disclosures                    21 days after filing of the Consolidated Amended
                                Complaint
 Stipulated Protective          No later than June 13, 2022
 Order submitted to the
 Court
 ESI Protocol                Parties have agreed to a meet-and-confer timing and
                             schedule to raise disputes to Special Master Katz
 Rule 16 Conference          August 31, 2022
 Production of all material 1 week after trigger date Relevant materials from
 produced to 3B Medical, (the parties will work         the 3B Action to be
 Inc. in 3B Medical, Inc. v. together in advance on     produced as part of the
 SoClean, Inc., 19-cv-3545 any relevancy objections first rolling production.

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    (S.D.N.Y.) (“3B Action”)     from SoClean)
                                                               SoClean disputes that all
                                                               materials produced in
                                                               the 3B Action are
                                                               relevant here.
    Production of FDA file 5     1 week after trigger date     With the first rolling
                                                               production. SoClean
                                                               does not maintain a
                                                               single file with the
                                                               requested documents.
    Rolling productions start    4 months after trigger date
    Document production          8 months after trigger date
    substantially complete
    Date by which any            The parties will need an order of court to amend
    additional parties shall     pleadings or add new parties.
    be joined and deadline
    for amending pleadings
    Fact discovery complete      13 months after trigger date
    Parties submit proposed      14 months after trigger date, 1 month after end of
    case schedule for post-      fact discovery
    fact discovery
    proceedings
    Post-fact discovery          Regular status conference following submission of
    status conference            joint proposed case schedule for post-fact
    pursuant to Local Rule       discovery proceedings
    Civil Procedure
    16.1(B)(1)(c)


    10.   If the parties agree that changes should be made to the limitations on
          discovery imposed or Local by the Federal Rules of Civil Procedure
          Rule or that any other limitations should be imposed on discovery, set
          forth such changes or limitations:

          The service of interrogatories, requests for production of documents and tangible

items, notices of depositions and requests for admission shall be governed by the Federal

Rules of Civil Procedure and the Local Rules of this Court. Plaintiffs believe that it will be

necessary to exceed the 10 deposition and 25 interrogatory limits and will confer in good


5All communications to and from the U.S. Food and Drug Administration related to any
SoClean device as well as any internal documentation SoClean is required to collect
and maintain for compliance with regulatory obligations to the FDA.
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faith in an effort to reach reasonable agreements regarding the number of depositions

and interrogatories to be allowed should it become apparent that it is necessary to exceed

these limits.

       Any deposition requested by another party in either this MDL or MDL No. 3014 will

not count toward the number of depositions a party is entitled to, even if that party

participates in the deposition for coordination. For clarity, substantive questioning beyond

the subject matter of testimony in response to questioning by another party shall count

towards a party’s deposition limits in the SoClean Class Actions.

 11.    Set forth whether the parties have considered the need for special
        deadlines, procedures or orders of court dealing with discovery of
        electronically-stored information (electronic discovery), including the
        need for the preservation of discoverable information and the
        protection of the right to assert privilege(s) after the production of
        privileged information and if so, set forth the results of such
        consideration. In particular, answer the following questions:

        a.      ESI. Is either party seeking the discovery of ESI in this case? □
                Yes □ No

       The Parties intend to file a stipulated ESI protocol that will detail how they will

facilitate any ESI disputes as they arise.


        b.      Metadata: Will any metadata be relevant in this case? □ Yes □
                No

                If yes, with respect to what ESI—


       The Parties intend to file a stipulated ESI protocol that will detail how to handle

metadata. The Parties anticipate that the ESI protocol will include an appendix that

explicitly identifies each category of metadata that will be exchanged. The protocol will

cover all the standard metadata fields, including custodians, modifiers, dates of creation


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and modification, etc. Each piece of ESI exchanged will be accompanied by metadata.

                If disputed, identify the nature of the dispute


         c.     Format. Have the parties agreed on the format(s) for production
                of ESI?

                       □ Yes □ No

        The parties intend to file a stipulated ESI protocol that will detail the format for ESI

production.


                If no, what disputes remain outstanding
         d.     Clawback Agreement. Will the parties be using the Form
                Inadvertent Production Provision of LCvR 16.1.D? □ Yes □ No

        A Rule 502(d) Agreement was already submitted on the Master Docket for the

SoClean MDL (ECF No. 63 in No. 22-mc-152) and the parties agree to be bound by it

here.

        If no, will an alternative provision be proposed? □ Yes (Please attach) □ No

         e.     Search terms. Have the parties agreed on any protocol for
                review of electronic data? □ Yes □ No

               If yes, please describe:

        The Parties intend to file a stipulated ESI protocol that will detail how they will

review electronic data for production. The Parties anticipate that the ESI protocol will

provide for some flexibility in how the Parties will search for and review potentially-

responsive material. The Parties anticipate that the ESI protocol will allow the parties to

confer down the road if they believe TAR would be beneficial to making the productions

more easily and quickly, but does not limit the means by how the producing party

searches for and responds to ESI requests.


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                     If no, please identify what issues remain outstanding

       f.     Accessibility. Have the parties agreed on what ESI is
              "reasonably accessible" as defined in R. 26(b)(2)(B)? □ Yes □
              No

             The parties are conferring on this issue in connection with the ESI Protocol.

             If no, please identify the nature of the dispute

       g.     Preservation. Are there any unresolved issues pertaining to the
              preservation of ESI? If so, please describe

             No, the parties are aware of their obligations, per PTO #1 and will outline

      them explicitly in the ESI Protocol.


       h.     Other. Identify all outstanding issues or disputes concerning
              ESI



12.    Set forth whether the parties have elected to schedule the Post-
       Discovery Status Conference following the completion of Fact
       Discovery or Expert Discovery; in either event the parties shall be
       prepared at the Post-Discovery Status Conference to discuss and/or
       schedule the following: (The parties are not required during their Rule
       26(f) Conference to consider or propose dates for the items identified
       below. Those dates will be determined, if necessary, at the Post-
       Discovery Status Conference. Lead trial counsel for each party and
       each unrepresented party are required to attend the Post- Discovery
       Status Conference with their calendars in hand to discuss those items
       listed below that require scheduling. In addition, a representative with
       settlement authority of each party shall be required to attend;
       representatives with settlement authority of any insurance company
       providing any coverage shall be available throughout the Conference
       by telephone):

      The parties have elected to schedule the Post-Fact Discovery Dates, including

expert discovery and class certification briefing, at the Post-Discovery Status Conference.

       a.     Settlement and/or transfer to an ADR procedure;

       b.     Dates for the filing of expert reports and the completion of
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              expert discovery as itemized in sub-paragraphs 9.f. through
              9.k., above, if the parties elected to defer such discovery until
              after the Post-Discovery Status Conference;

       c.     Dates by which dispositive motions pursuant to Fed. R. Civ. P.
              56, replies thereto and responses to replies should be filed;

       d.     Dates by which parties' pre-trial statements should be filed;

       e.     Dates by which in limine and Daubert motions and responses
              thereto should be filed;

       f.     Dates on which motions in limine and Daubert motions shall be
              heard;

       g.     Dates proposed for final pre-trial conference;

       h.     Presumptive and final trial dates.

13.    Set forth any other order(s) that the parties agree should be entered
       by the court pursuant to Fed. R. Civ. P. 16(b) or 26(c):

      Joint Statement:

      Order Appointing Discovery Special Master (already entered)

      Order Appointing Settlement Mediator (to be filed)

      ESI Protocol (to be filed)

      Protective Order (to be filed)

      Privilege Log Protocol (to be filed)

      Deposition Protocol (to be filed)

      SoClean:

      Order granting SoClean’s Motion to Stay Discovery Pending SoClean’s Motion to
      Dismiss the CAC (to be filed)

14.    Set forth whether the parties anticipate that the court may have to
       appoint a special master to deal with any matter and if so, specify the
       proposed role of any such master and any special qualifications that
       such master may require to perform such role:

      Carole Katz has been appointed Discovery Special Master.


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15.    If the parties have failed to agree with regard to any subject for which
       a report is required as set forth above, except for proposed dates
       required in paragraph 9, above, briefly set forth the position of each
       party with regard to each matter on which agreement has not been
       reached:

       The Parties’ positions on such disputed issues are set forth above.

16.    Set forth whether the parties have considered the possibility of
       settlement of the action and describe briefly the nature of that
       consideration:

      The Parties intend to engage in settlement discussions facilitated by the

appointment of a mediator, as discussed above.




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AGREED TO AND STIPULATED TO BY:

SHARP LAW, LLP                             PROSKAUER ROSE LLP

/s/ Ruth Anne French-Hodson                /s/ Michael R. Hackett
Rex A. Sharp, KS #12350                    Michael R. Hackett (MA BBO # 676693)
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